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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 MAMBU BAYOH,                            :
                                         :
                          Plaintiff,     :            18cv5820 (DLC)
                                         :
                -v-                      :                 ORDER
                                         :
 AFROPUNK LLC, MATTHEW MORGAN and        :
 JOCELYN COOPER, individually,           :
                                         :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     On October 20, 2020, the Court held a telephone conference

with the parties to discuss the trial date in this matter.           The

parties having consented to reschedule the trial, it is hereby

     ORDERED that the trial will begin on Monday, November 2 at

9:30 a.m.

Dated:      New York, New York
            October 20, 2020


                                  __________________________________
                                             DENISE COTE
                                     United States District Judge
